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    EXHIBIT 5
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                           UNITED STATES DISTRICT COURT
                        NORTHERN DISTRICT OF CALIFORNIA


IN RE: ROI.INDUP PRODUCTS                   MDL No. 2741
LIABILITY LITIGATION
                                            Case No. l6-md-0274 1 -VC


This document relates to:
Hardeman v. Monsanto (3 : I 6-cv-525),
Stevíck v. Monsanto (3:16-cv-234I), and
Gebeyehou v. Monsanto (3 : I 6-cv-58 1 3)




                               EXPBRT REPORT OF

                           DR. \ryILIAM R. SA\ryYER
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November 20,2018
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sprayer had to be pumped and Roundup would be sprayed through a wand attached to
the sprayer. When spraying around her roses or other desirable plants, she would set the
wand on the stream sitting. She was very careful to not get Roundup on areas where she
didn't want it to go because "it's a tight Space and it's a powerful thing'"zo

After this initial period, she used Roundup less, spraying approximately one gallon of
diluted concentrate only once per month for ten months of the year. She used it to kill
weeds in the walkways, near her roses, her vegetable beds3o and on the public sidewalk
as well as on the gravel driveway. She testified that the driveway constituted a substantial
part of the application of Roundup at this time.31 She occasionally got the Roundup on
herself when abreeze would come up and blow Roundup back on her hands. "When
you're using it, the wind blows and vou would qet wet."32 She described this as a fine
mist. However, she would not immediately wash her hands but would wait until she was
done spraying (within an hour). Although she washed her hands after spraying Roundup,
she did not shower until later in the day (approximately 10 pm) before retiring for the night.

                                                                             "Most of the
She also recalls getting drift on her legs although she rarely wore shorts'
time, lwould wear long jeans but I can remember it landing on my leg when lwas wearing
shorts at least once or twice."33 She also recalled that she wore long-sleeve shirts most
of the time while spraying but did not utilize a mask. She rarely wore gloves (less than
5% of the time) because they were too thick to manipulate the sprayer.

Mrs. Stevick estimated that she would spray Roundup, on average, once a month based
on when her schedule allowed and when the weeds were growing. She and her husband
"tended to use the concentrate because it was less expensive than buying the ready to
use and we were raising a young family. I would say 90 percent of the time Chris mixed
it. I can barely remember doing it."34 However, she estimated that she performed the
mixing of the concentrate six to ten times over a period of 25 years. She was very careful


2e ld., page 1'lB.

30 ld.,page106-107.   Vegetablebedareawasalsonotedtobealargearea-"1 wouldsayacouple(two)
   of car lengths becauselhere's an area behind the garage that's also exposed where blackberry bushes
   and thingi like that would grow as well. And l'd spray those as well sometimes."
31 ld., page 105. Per Mrs. Stevick, the driveway was at least the length of three cars and about the width

  of one car.
32 ld., page 120. She estimated that this happened 10-20% of the time.

33|d., page 122.
3a ld., page 111.


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